
USCA1 Opinion

	










          March 19, 1996        [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                              _________________________

          No. 95-1865



                     AMERICAN POSTAL WORKERS UNION, ETC., ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                        UNITED STATES POSTAL SERVICE, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                      [Hon. Nancy Gertner, U.S. District Judge]
                                           ___________________
                                 ____________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Stahl, Circuit Judge.
                                         _____________
                                 ____________________

               Cornelius J.  P. Sullivan, with  whom Brenda E.  W. Sullivan
               _________________________             ______________________
          and Sullivan &amp; Walsh were on brief, for appellants.
              ________________
               Susan M.  Poswistilo, Assistant United States Attorney, with
               ____________________
          whom Donald K.  Stern, United States Attorney, R.  Andrew German,
               ________________                          _________________
          Chief Appellate Counsel, United  States Postal Service, and Brian
                                                                      _____
          M. Reimer, Attorney, United States Postal Service, were on brief,
          _________
          for appellees.

                                 ____________________




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                    Per  Curiam.    When Congress  established  the  Postal
                    Per  Curiam
                    ___________

          Service (the Service) in  1970, it set in place a labor relations

          format  patterned after  the private  sector.   See 39  U.S.C.   
                                                          ___

          1201-1209  (1994).    Under  that  framework, appellant  American

          Postal Workers Union, AFL-CIO (the  Union) entered into a  series

          of collective bargaining agreements with the Service.  During the

          currency  of one such agreement, the Service discharged a trio of

          postal  workers  (Dennis  Daniels,   Jonathan  Davis,  and  Karen

          Johnson) for cause.

                    The  three       all of  whom  worked at  the  Sudbury,

          Massachusetts post office      were members of a  bargaining unit

          represented by  the Union.   The Union  prosecuted grievances  on

          their  behalf.   Following  a five-day  evidentiary hearing,  the

          arbitrator found that the grievants committed the acts with which

          they  had been charged, and  that the Service  had just cause for

          the disciplinary actions which  it took in first  suspending, and

          later ousting, the grievants.

                    The Union filed an action in the federal district court

          with a view toward  vacating the arbitral award.1   Its complaint

          claimed  that  the  award "did  not  draw  its  essence from  the

          collective  bargaining agreement"  because it  was "not  based on

          sufficient evidence to  sustain a finding of  just cause."  In  a

          well-reasoned opinion,  the district court granted  the Service's

                              
          ____________________

               1For ease in reference, we  treat the case if the Union  and
          the  Service were the sole protagonists.  In the circumstances at
          hand,   the  presence  of  other  parties  adds  nothing  of  any
          consequence.

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          motion for  summary judgment.  See American  Postal Workers Union
                                         ___ ______________________________

          v.  United States  Postal Serv.,  No. 92-10364-NG,  slip op.  (D.
              ___________________________

          Mass. June 28, 1995).  The Union appeals.  We summarily affirm.

                    There  is no need to tarry.  Having read the voluminous

          record,  considered the  parties'  briefs, and  entertained  oral

          argument, we find no  basis to disturb either the  arbitral award

          or  the district court's decision.   To the  precise contrary, we

          regard this as a paradigmatic case  in which to put into practice

          our oft-stated  belief that, when  lower courts have  done first-

          rate  work, an  appellate  tribunal should  not wax  longiloquent

          simply to hear its own words resonate.  See In re San Juan Dupont
                                                  ___ _____________________

          Plaza  Hotel  Fire  Litig., 989  F.2d  36,  38  (1st Cir.  1993).
          __________________________

          Consequently,  we  affirm  the  judgment  for  substantially  the

          reasons elucidated in the opinion below.  We add only a few brief

          comments.

                    The  statute  that  confers  a right  to  challenge  an

          arbitral  award in a postal employment case, 39 U.S.C.   1208(b),

          is an analog  to section  301 of the  Labor Management  Relations

          Act, 29  U.S.C.   185(a), and  therefore, the case law  under the

          two statutes is generally interchangeable.   See Miller v. United
                                                       ___ ______    ______

          States Postal Serv.,  985 F.2d 9, 10 n.1 (1st  Cir. 1993).  Under
          ___________________

          either  scheme,  "courts are  not  authorized  to reconsider  the

          merits  of arbitration  awards."   S.  D.  Warren Co.  v.  United
                                             __________________      ______

          Paperworkers'  Int'l Union, Local 1069, 845 F.2d 3, 7 (1st Cir.),
          ______________________________________

          cert. denied, 488 U.S. 992  (1988).  The exceptions to this  rule
          _____ ______

          are few  and far between.  See Advest, Inc. v. McCarthy, 914 F.2d
                                     ___ ____________    ________


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          6, 8 (1st Cir. 1990) (limning exceptions); Bettencourt v.  Boston
                                                     ___________     ______

          Edison Co., 560 F.2d  1045, 1049 (1st Cir.  1977) (similar).   To
          __________

          make a long story short, a challenger must show that the award is

          "(1)  unfounded in  reason and  fact; (2)  based on  reasoning so

          palpably faulty that  no judge,  or group of  judges, ever  could

          conceivably have made such a ruling; or (3) mistakenly based on a

          crucial assumption that is  concededly a non-fact."   Local 1445,
                                                                ___________

          United Food  &amp; Commercial Workers v.  Stop &amp; Shop Cos.,  776 F.2d
          _________________________________     ________________

          19,  21 (1st Cir. 1985).  These exceptions are narrowly construed

          and,  unless one of them applies, even "a court's conviction that

          the arbitrator made a serious mistake or committed grievous error

          will not furnish a satisfactory basis for undoing  the decision."

          Advest,  Inc., 914  F.2d at  9; accord  Georgia-Pacific  Corp. v.
          _____________                   ______  ______________________

          Local 27, United Paperworkers Int'l Union, 864 F.2d 940, 944 (1st
          _________________________________________

          Cir. 1988).

                    As the district court recognized, the instant case does

          not  fit  within  the confines  of  any  of  the three  long-odds

          exceptions.   The linchpin  of the  Union's position,  as counsel

          made  clear at  oral  argument, is  that  the arbitral  award  is

          irrational because  the three grievants  were all audited  on the

          same day and only  minor discrepancies were found in  their stamp

          stock.  Therefore, the Union's thesis runs, it is impossible that

          any of  the trio  could have stolen  stamp stock  (from which  it

          follows that  the arbitrator  based his  decision  on facts  that

          could not have been true).

                    To  be sure,  this  is one  possible interpretation  of


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          selected  items of evidence.  But the arbitrator faced a golconda

          of conflicting testimony regarding  specific dates, and the Union

          has simply  woven together the  timeline most  beneficial to  its

          view  of  the  universe.    The  arbitrator  apparently  chose  a

          different  timeline after  hearing  the witnesses  and  carefully

          considering the surrounding circumstances.  The record supports a

          finding that Daniels was  audited for the second time  on Monday,

          April  16, 1990,  when Davis  was absent  from work,  and not  on

          Tuesday, April 17; that  Davis and Johnson were then  audited the

          next day (April 17); and that, although no substantial amounts of

          stamp stock were found  to be missing, some form of  deception or

          sleight of hand  was being practiced by the  three clerks to hide

          the fact     incontrovertibly proven     that Davis had stolen as

          much as $6,000 by unauthorized withdrawals from his stock.

                    We add  two further observations.   First, even  if the

          three grievants all had been audited on the same day as the Union

          contends, the arbitrator's conclusion of just cause for discharge

          would remain  soundly based.2   Second,  while the  exceptions we
                              
          ____________________

               2The  postmaster (Packard)  sealed the  safe containing  the
          clerks'  cash drawers  on Saturday  evening, April  14, and  upon
          returning  to work on Monday morning noticed signs of a break-in.
          When audits  were conducted on  Monday and  Tuesday, Daniels  and
          Johnson  showed an  unusual  loss of  large denomination  stamps,
          while  Davis had an inexplicable surplus of $2 stamps.  Moreover,
          Johnson's fingerprints  were found on  seven sheets of  stamps in
          Davis'  stock.    In   May,  postal  inspectors  determined  that
          $1,153.30 of  Johnson's stamp  stock had originated  from sources
          other than  authorized postal  channels.   Given  this and  other
          evidence  (including admissions  by  Daniels  and  Johnson),  the
          arbitrator easily could conclude  that the three clerks purchased
          stamps from  outside sources to  replenish Davis' stock  prior to
          his  audit.    On that  hypothesis,  the  three  audits, even  if
          conducted  on  the   same  day,  would  likely  reveal  no  major

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          have described can take hold on a showing that the arbitral award

          was "mistakenly based on a  crucial assumption that is concededly

          a  non-fact," Advest,  Inc., 914  F.2d at  8-9, that  doctrine is
                        _____________

          limited to cases in which no competent evidence of an adjudicated
                                    __

          fact appears in  the record.  The doctrine has  no bearing where,

          as here, there is evidence both ways as to the pivotal facts.

                    We  need go no further.   Refined to  bare essence, the

          Union's claim is that the arbitrator found the facts in a clearly

          erroneous  manner,  largely  because   he  believed  the  "wrong"

          witnesses and credited the "wrong" bits of conflicting testimony.

          Even if  this claim were well-founded      and there  is not very

          much in the record to suggest  any egregious factual error     we

          could not grant the  requested relief.  See International  Bhd of
                                                  ___ _____________________

          Firemen &amp; Oilers, Local 261 v. Great Northern Paper Co., 765 F.2d
          ___________________________    ________________________

          295, 296 (1st Cir.  1985) (explaining that "courts are  precluded

          from  interfering  with arbitration  awards  for  mere errors  in

          assessing the credibility of  witnesses").  It follows inexorably

          that we must uphold the district court's rejection of the Union's

          challenge to the arbitral award.



                    Affirmed.  See 1st Cir. R. 27.1.
                    ________   ___








                              
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          discrepancies.

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